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June 6, 2018
Via HCE
US DISTRICT COURT, SDNY
Hon. Denise L. Cote, USDJ
500 Pearl Street
New York, NY 106007
RE: US v Mahmoud Thiam
Sociedad Saboeira d Nacala
Docket: 17 Cr 0047 {DLC)

 

 

Dear Honorable Madame:

As you know, I represented Third-Party Claimant in the above-
referenced matter. Please accept this correspondence as a status
update and request for further extension of time.

As the Court is aware, the parties were given a deadline of
today to inform the Court as to a resolution or to establish a
briefing schedule.

The parties have been discussing a possible resolution to the
Third-Party Claim. The Government has requested additional
documents that I~ am in the process of obtaining that the parties
believe may lead to the final resolution herein.

Accordingly, the parties jointly request an additional
extension of sixty (60) days to resolve the matter prior to full

briefing schedules. While the parties recognize that the
additional sixty (60) days is a lengthy request given prior
extensions, I note for the Court's consideration that

communications between myself and the Claimant often have lengthy
delays due to distance/language and time barriers; as well as the
fact that I will be out of the jurisdiction for most of the time-
period between July 1 and August 8, 2018.

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Thank you for your time and consideration. Should the Court
have any further questions, concerns or directives, please feel

free to contact the undersigned.

Respectfully submitted,

s/Aaron M. Goldsmith

cc: ELISHA KOBRE, AUSA
via ECF

 

 
